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U.S. Department of Health and Human Services

Office of Inspector General




Some Medicare Advantage
Companies Leveraged Chart
Reviews and Health Risk
Assessments To
Disproportionately Drive
Payments



Suzanne Murrin
Deputy Inspector General for Evaluation and Inspections
September 2021, OEI-03-17-00474
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U.S. Department of Health and Human Services

Office of Inspector General
Report in Brief
September 2021, OEI-03-17-00474


Why OIG Did This Review                 Some Medicare Advantage Companies
We undertook this evaluation
because of concerns that
                                        Leveraged Chart Reviews and Health Risk
companies with contracts under          Assessments To Disproportionately Drive
Medicare Advantage (MA
companies) may leverage both            Payments
chart reviews and health risk
                                                                       The Centers for Medicare & Medicaid
assessments (HRAs) to maximize
risk-adjusted payments, without
                                        Key Takeaway                   Services (CMS) risk-adjusts payments by
                                                                       using beneficiaries’ diagnoses to pay higher
beneficiaries receiving care for         Some Medicare Advantage       capitated payments to MA companies for
those diagnoses. Unsupported             companies’ disproportionate   beneficiaries expected to have higher-than-
risk-adjusted payments have been         use of chart reviews and      average medical costs. This may create
a major driver of improper               health risk assessments to    financial incentives for MA companies to
payments in the MA program.              maximize risk-adjusted        make beneficiaries appear as sick as
                                         payments raises concerns      possible. For CMS to risk-adjust payments,
The risk-adjustment program is an
                                         and highlights the need for   MA companies report beneficiaries’
important payment mechanism for
                                         more targeted oversight.      diagnoses—based on services provided to
MA. It levels the playing field for
MA companies that enroll                                               beneficiaries—to CMS’s MA encounter data
beneficiaries who need a costlier       system and the Risk Adjustment Processing System.
level of care, which helps to ensure
                                        Chart reviews and HRAs are allowable sources of diagnoses for risk
that these beneficiaries have
                                        adjustment. A chart review is an MA company’s review of a beneficiary’s
continued access to MA plans.
                                        medical record to identify diagnoses that a provider did not submit or
Chart reviews and HRAs can be
                                        submitted in error. An HRA occurs when—in order to diagnose a beneficiary
tools for improving the MA
                                        and identify possible gaps in care—a health care professional collects
program. However, two prior OIG
                                        information from a beneficiary about the beneficiary’s health.
evaluations found that the
diagnoses that MA companies             What OIG Found
reported only on chart reviews or       Our findings raise concerns about the extent to which certain MA companies
HRAs in the 2016 encounter data—        may have inappropriately leveraged both chart reviews and HRAs to
i.e., on no other service records—      maximize risk-adjusted payments. We found that 20 of the 162 MA
resulted in billions in risk-adjusted   companies drove a disproportionate share of the $9.2 billion in payments
payments for 2017. These prior          from diagnoses that were reported only on chart reviews and HRAs, and on
evaluations raised concerns about       no other service records. These companies’ higher share of payments could
the completeness of encounter           not be explained by the size of their beneficiary enrollment. Each company
data; the validity of submitted         generated a share of payments from these chart reviews and HRAs that was
diagnoses on chart reviews or           more than 25 percent higher than its share of enrolled MA beneficiaries.
HRAs; and the quality of care
provided to MA beneficiaries. The       Among these 20 MA companies, 1 company further stood out in its use of
current evaluation builds on those      chart reviews and HRAs to drive risk-adjusted payments without encounter
two evaluations to identify MA          records of any other services provided to the beneficiaries for those
companies that disproportionately       diagnoses. This company had 40 percent of the risk-adjusted payments from
drove increases in risk-adjusted        both mechanisms, yet enrolled only 22 percent of MA beneficiaries. In
payments from both chart reviews        addition, this company accounted for about a third of all payments from
and HRAs.                               diagnoses reported solely on chart reviews and more than half of all
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How OIG Did This Review                payments from diagnoses reported solely on HRAs. Further, almost all of its
Using previously collected MA          HRAs were conducted in beneficiaries’ homes. Since in-home HRAs are often
encounter data from 2016, we           conducted by vendors hired by MA companies (and not likely conducted by
determined whether any MA              beneficiaries’ primary care providers), this raises particular concerns about
companies’ use of chart reviews        the quality of care coordination for these beneficiaries and the validity of
and HRAs increased their               diagnoses that were reported on the HRAs.
risk-adjusted payments
disproportionately relative to their   What OIG Recommends
size and their peers.                  CMS should (1) provide oversight of the 20 MA companies that had
                                       a disproportionate share of the risk-adjusted payments from chart reviews
                                       and HRAs; (2) take additional actions to determine the appropriateness of
                                       payments and care for the 1 MA company that substantially drove
                                       risk-adjusted payments from chart reviews and HRAs; and (3) perform
                                       periodic monitoring to identify MA companies that had a disproportionate
                                       share of risk-adjusted payments from chart reviews and HRAs. To assist CMS
                                       with its efforts, we will provide information on which companies had
                                       a substantially disproportionate share of risk-adjusted payments from
                                       diagnoses that were reported only on chart reviews and/or HRAs. CMS
                                       neither concurred nor nonconcurred with our three recommendations and
                                       stated that it will take our recommendations under consideration as part of
                                       its ongoing process to determine policy options for future years.
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BACKGROUND

                     Objective
                             To determine whether any Medicare Advantage (MA) companies’ use of
                             chart reviews and health risk assessments (HRAs) disproportionately
                             increased risk-adjusted payments relative to those of their peers.




                    Under MA, also known as Medicare Part C, CMS contracts with MA organizations
                    (MAOs) to provide coverage of Parts A and B services through private health plan
                    options. 1 An MA company is a company that owns or has a controlling interest in one
                    or more MAOs. 2 Ensuring that MA companies receive accurate payments to provide
                    appropriate care to Medicare beneficiaries is critically important. Toward this end, the
                    Centers for Medicare & Medicaid Services (CMS) risk-adjusts payments by using
                    beneficiaries’ diagnoses to pay higher capitated payments to MA companies for
                    beneficiaries who are expected to have higher-than-average medical costs. This
                    payment policy may create financial incentives for MA companies to misrepresent
                    beneficiaries’ health statuses and make beneficiaries appear to have additional
                    illnesses and other conditions that would command higher payment.

                    Unsupported risk-adjusted payments—payments that are not supported by
                    diagnoses documented in beneficiaries’ medical records—have been a major driver of
                    improper payments in the MA program. The Office of Inspector General (OIG), CMS,
                    the United States Department of Justice (DOJ), the Government Accountability Office
                    (GAO), and the Medicare Payment Advisory Commission (MedPAC) have identified
                    vulnerabilities related to MA companies’ inflating their beneficiaries’ risk scores. Two
                    prior OIG evaluations found that diagnoses that MA companies reported only on two
                    specific sources of diagnoses—chart reviews and HRAs—resulted in billions in
                    risk-adjusted payments for 2017. 3 This evaluation builds on those two evaluations to
                    identify MA companies that disproportionately drove increases in risk-adjusted
                    payments from both chart reviews and HRAs.


        The Medicare Advantage Program
                    In 2020, 40 percent of Medicare beneficiaries—25 million—elected to enroll with MA
                    companies rather than the Medicare fee-for-service program. In fiscal year 2020, MA
                    program costs were $314 billion of the total $780 billion in Medicare program costs. 4

                    MA risk-adjusted payments. For each beneficiary enrolled, MA companies receive a
                    capitated payment that reflects CMS’s predicted cost of providing care to an MA



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                    beneficiary. CMS risk-adjusts payments to pay MA companies more for beneficiaries
                    who have higher expected health care costs.

                    CMS bases risk adjustments on MA beneficiaries’ demographic information and
                    diagnoses from the prior year. Exhibit 1 outlines CMS’s risk-adjustment process as it
                    relates to diagnoses that MA companies report. 5

                    Exhibit 1: MA risk-adjustment process




                            Beneficiary                 Provider submits               The MA company
                            receives a                 service information          submits a service record
                             service.                 to the MA company.             to the CMS encounter
                                                                                          data system.




                         CMS performs data                From the submitted              CMS risk-adjusts
                       integrity checks on the            service record, CMS              payments and
                      service record submitted          identifies diagnoses that           pays the MA
                        by the MA company.                 are eligible for risk             company.
                                                               adjustment.

                    Source: OIG summary of CMS’s guidance on the MA risk-adjustment process. 6

                    The risk-adjustment process generally begins when the beneficiary receives a service
                    or medical item from a provider. The provider submits claims information, including
                    diagnoses, to the MA company on the basis of the service or medical item provided
                    to the beneficiary. The MA company submits a record of the service (hereafter
                    referred to as a service record) to CMS’s MA encounter data system. This service
                    record contains claims information or administrative data, including the diagnoses.
                    MA companies also submit data on beneficiaries’ diagnoses to CMS through the Risk
                    Adjustment Processing System (RAPS). 7

                    CMS groups the risk-adjustment-eligible diagnoses into hierarchical condition
                    categories (HCCs)—categories of clinically related diagnoses. 8 Each HCC has relative
                    numerical values (i.e., relative factors) that represent the expected costs associated
                    with treating the medical conditions in that category. 9 A beneficiary’s risk score


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                    equals the sum of the relative factors that correspond with the beneficiary’s HCCs and
                    demographic characteristics. The total risk-adjusted payment to an MA company
                    for an enrolled beneficiary equals the risk score multiplied by the MA plan’s base
                    payment rate. 10


        Chart Reviews and Health Risk Assessments
                    CMS allows chart reviews and HRAs to be used as sources of diagnoses for risk
                    adjustment. However, the use of chart reviews and HRAs by MA companies have
                    raised concerns as they may use them inappropriately to collect diagnoses and
                    increase their risk-adjusted payments.


                    Chart Reviews
                    In addition to reporting diagnoses to CMS on service records, MA companies may
                    also perform chart reviews—retrospective reviews of beneficiaries’ medical record
                    documentation to identify diagnoses that providers did not originally submit to the
                    MA companies. 11 To perform these reviews, MA companies may employ third-party
                    vendors (hereafter referred to as vendors) to examine beneficiaries’ medical records.
                    These vendors may use staff with clinical or coding experience, or they may use
                    artificial intelligence software. MA companies may report diagnoses identified by
                    these reviews to the encounter data system in the form of chart review records. CMS
                    allows diagnoses reported on chart reviews to support risk-adjusted payments.

                    In the MA encounter data, CMS does not require MA companies to link chart reviews
                    to previously accepted records of services provided to beneficiaries. Linking a chart
                    review to a previously accepted service record would allow CMS and other oversight
                    entities to identify the specific item or service that is associated with a diagnosis that
                    is eligible for risk adjustment. 12 However, CMS also permits MA companies to submit
                    unlinked chart reviews that add diagnoses to the encounter data without identifying
                    the specific items or services associated with the diagnoses. 13 In addition, when MA
                    companies do not know the actual procedure codes associated with diagnoses
                    submitted on unlinked chart reviews, CMS allows MA companies to submit any
                    procedure codes of their choosing; CMS refers to such codes as default procedure
                    codes. 14

                    OIG concerns about chart reviews. A December 2019 OIG report raised concerns
                    that chart reviews may provide MA companies with opportunities to circumvent
                    CMS’s risk-adjustment rules and inflate risk-adjusted payments inappropriately—
                    particularly when the chart reviews are not linked to service records. Specifically,
                    allowing MA companies to submit default procedure codes on chart reviews may
                    create an opportunity for MA companies to circumvent the requirement for a face-to-
                    face visit for risk adjustment. 15 OIG found that the diagnoses that MA companies
                    reported only on chart reviews—and not on any service records in the encounter
                    data—resulted in an estimated $6.7 billion in risk-adjusted payments for 2017. 16 Of
                    this $6.7 billion amount, CMS based $2.7 billion in risk-adjusted payments on

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                    diagnoses that MA companies reported only on unlinked chart reviews. For the
                    unlinked chart reviews for which CMS uses procedure codes to identify diagnoses for
                    risk adjustment, we found that 67 percent contained default procedure codes. CMS
                    does not have safeguards in place to prevent an MA company from receiving
                    payment for a diagnosis that is not eligible for risk adjustment when the MA company
                    chooses to submit a default procedure code that is eligible for risk adjustment. In
                    addition, for both chart reviews overall and unlinked chart reviews specifically, a small
                    number of MAOs and MA companies drove a substantial portion of the resulting
                    risk-adjusted payments.

                    CMS concurred with the December 2019 report’s recommendations to provide
                    oversight of certain MAOs, conduct audits of diagnoses reported on chart reviews,
                    and reassess allowing unlinked chart reviews as sources of diagnoses for risk
                    adjustment. In June 2020, CMS provided reports to MAOs that highlighted
                    beneficiaries with unlinked chart reviews but no service records for 2018. 17 CMS
                    requested that MAOs that detected errors on the basis of these reports (1) provide
                    explanation for such errors; (2) describe any planned actions to prevent further errors;
                    and (3) provide information about whether corrected or missing encounter records
                    would be resubmitted. In addition, CMS has stated that it would include chart reviews
                    in its audits of information from 2015 and 2016 that validate diagnoses for risk
                    adjustment. As of August 2021, CMS had not yet fully implemented these
                    recommendations.

                    DOJ and GAO concerns about chart reviews. DOJ and GAO have also raised
                    concerns about MA companies’ use of chart reviews for risk adjustment. In 2017, the
                    United States joined a whistleblower lawsuit—filed under the False Claims Act—that
                    included an allegation that an MA company used the results of chart reviews to
                    submit diagnoses that the treating physician did not originally report but did not use
                    the chart review results to delete previously submitted diagnoses that these chart
                    reviews had found to be invalid. 18 In March 2020, the United States filed a False
                    Claims Act lawsuit against another MA company regarding similar allegations. 19 In
                    2016, GAO stated its concern that diagnoses collected from MAOs’ retrospective chart
                    reviews may be less likely to be supported by medical records than diagnoses
                    submitted to MAOs by providers. 20


                    Health Risk Assessments
                    Physicians or other health care professionals administer HRAs to collect information
                    from beneficiaries about health status, health risks, and daily activities. In the
                    Medicare fee-for-service program, HRAs are part of beneficiaries’ annual wellness
                    visits, which typically occur in physician offices or other health care facilities. 21 CMS
                    encourages MA companies to have providers conduct initial and annual HRAs. 22 In
                    the MA program, HRAs may also be conducted during other visits with beneficiaries—
                    including visits to beneficiaries’ homes performed by third-party vendors hired by MA
                    companies. Care coordination that results from assessing a beneficiary’s health risks



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                    may include developing a plan of care; arranging services; delivering interventions;
                    and reassessing and adjusting the plan of care as needed.

                    OIG concerns about HRAs. A September 2020 OIG report found that diagnoses that
                    MA companies reported only on HRAs in the encounter data resulted in an estimated
                    $2.6 billion in risk-adjusted payments for 2017. 23, 24 HRAs conducted in beneficiaries’
                    homes generated $2.1 billion of these risk-adjusted payments. Most of these in-
                    home HRAs were conducted by vendors that MA companies’ partner with or hire to
                    conduct HRAs. As with chart reviews, a small number of MAOs and MA companies
                    drove a substantial portion of the risk-adjusted payments that resulted from HRAs
                    overall and in-home HRAs specifically.

                    Of this September 2020 report’s five recommendations, CMS concurred with two
                    recommendations to provide targeted oversight of certain MA companies that drove
                    payments resulting from in-home HRAs. CMS has not yet implemented these two
                    recommendations. CMS stated that it did not concur with three recommendations
                    because it did not determine that a change in policy was warranted.

                    CMS and MedPAC concerns about HRAs. CMS and MedPAC have questioned
                    whether MAOs use HRAs primarily as a strategy to find and submit more diagnoses to
                    increase payments rather than a means to improve the care provided to beneficiaries.
                    In 2015, CMS stated that it had observed an increase in in-home visits to assess MA
                    enrollees. 25 According to CMS, nonphysician practitioners working for vendors hired
                    by MAOs usually performed in-home HRAs, and the resulting care coordination
                    appeared to vary across plans. At that time, CMS provided guidance to MA
                    companies on best practices that promote the primary use of in-home HRAs as tools
                    for improving care for MA enrollees, not just as a process for collecting diagnoses to
                    increase risk-adjusted payments. 26

                    In 2016, MedPAC—a nonpartisan legislative-branch agency that provides Congress
                    with analysis and policy advice on the Medicare program—recommended that the
                    Secretary of Health and Human Services eliminate HRAs as a source of diagnoses for
                    MA risk adjustment. MedPAC contended that a small number of MAOs were using
                    HRAs to increase Medicare payment without providing followup care. 27 In addition,
                    MedPAC raised concerns about the reportedly aggressive tactics that some MAOs use
                    to recruit beneficiaries for in-home HRAs, and it questioned the accuracy of diagnoses
                    identified only through in-home HRAs.


        Methodology

                    Data Sources
                    To determine whether any MA companies’ use of chart reviews and HRAs increased
                    risk-adjusted payments disproportionately relative to those of their peers, we used
                    previously collected data for 162 MA companies that had payments resulting from
                    diagnoses reported only on chart reviews and HRAs. For prior work, we extracted

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                    chart reviews 28 and HRAs 29 in the 2016 MA encounter data, as well as beneficiary
                    enrollment data stored within CMS‘s Integrated Data Repository (IDR). 30 For
                    beneficiaries who had risk-adjustment-eligible diagnoses that were reported only on
                    chart reviews or HRAs, we determined the HCCs generated from mapping the
                    diagnoses reported only on chart reviews or HRAs. 31 We calculated estimates of the
                    amount of risk-adjusted payments associated with each HCC by multiplying the MA
                    plan’s monthly base payment rate by the relative factor of the HCC. 32, 33 We then
                    multiplied monthly amounts of payments by 12 to determine the annual estimated
                    risk-adjusted payments from diagnoses reported only on chart reviews or HRAs and
                    not on any other encounter records.

                    For this evaluation, we combined these data for the 162 MA companies with
                    estimated payments from chart reviews and HRAs into a dataset. To compare
                    risk-adjusted payments by MA companies’ enrollment size, we used CMS data on the
                    number of beneficiaries enrolled with each MA company as of January 1, 2016.


                    Analysis of Payment Amounts From Both Chart Reviews and
                    HRAs
                    Using our combined dataset of previously collected information, we determined the
                    number of MA companies with payments from chart reviews and HRAs. Overall,
                    162 MA companies generated payments from diagnoses reported only on chart
                    reviews and HRAs. Of these companies, 126 had payments from both chart reviews
                    and HRAs. Of the 36 remaining companies, 30 had payments solely from HRAs and
                    6 companies had payments solely from chart reviews. For each of the 162 MA
                    companies, we totaled their payments from these mechanisms. We then assessed the
                    distribution of payments across MA companies to determine whether any MA
                    companies had higher amounts of risk-adjusted payments from chart reviews and
                    HRAs. In addition, we compared MA companies’ payments from chart reviews to their
                    payments from HRAs, to determine whether any MA companies had higher amounts
                    of risk-adjusted payments from chart reviews in comparison to their risk-adjusted
                    payments from HRAs.

                    We summarized the number and type of HCCs and diagnoses that increased
                    payments as a result of chart reviews and HRAs. For our analysis of diagnoses, we
                    limited the analysis to diagnoses reported for at least 5,000 beneficiaries on in-home
                    HRAs. We also summarized the number of beneficiaries with diagnoses from chart
                    reviews and HRAs. Finally, we calculated and compared the difference between each
                    MA company’s share of the payments from these mechanisms and its share of MA
                    enrollment. We identified companies with a share of payments that exceeded their
                    share of enrollment by more than 25 percent. We used this same approach to
                    determine whether certain MA companies had higher amounts of risk-adjusted
                    payments from unlinked chart reviews 34 and in-home HRAs. 35 We are not including
                    the names of MA companies in this report, but we will provide information to CMS
                    regarding which companies had a substantially disproportionate share of
                    risk-adjusted payments from diagnoses reported only on chart reviews and HRAs.

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                    Limitations
                    In calculating risk-adjusted payments for diagnoses reported only on chart reviews
                    and HRAs during the previous evaluations, we estimated the potential impact of chart
                    reviews and HRAs on the MA program for 2017 by using the encounter data
                    submitted by MA companies for 2016. 36 We did not review CMS’s final payment data
                    to MA companies for 2017. CMS’s actual monthly payments to MA companies may
                    change each month if there are changes in certain beneficiary characteristics, such as
                    long-term institutional status, dual eligibility status, and county of residence. For
                    analytic efficiency, we calculated payment estimates for the entire year using
                    2016 encounter data and beneficiaries’ characteristics as of January 2016. Finally, we
                    did not incorporate diagnoses stored in CMS’s RAPS data into our payment
                    calculations because RAPS does not identify diagnoses collected from chart reviews or
                    HRAs. 37 However, we checked RAPS and found that 99.5 percent of the diagnoses
                    included in our HRA payment analysis were also reported in RAPS.




        Standards
                    We conducted this study in accordance with the Quality Standards for Inspection and
                    Evaluation issued by the Council of the Inspectors General on Integrity and Efficiency.




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FINDINGS
        Twenty MA companies drove a disproportionate share of the
        $9.2 billion from chart reviews and HRAs
                    MA companies generated an estimated $9.2 billion in risk-adjusted payments from
                    diagnoses that were reported only on chart reviews and HRAs in the encounter data.
                    Most of these companies (142 of 162) had an amount of payments proportional to or
                    lower than their size, as defined by their share of enrolled beneficiaries. However,
                    20 companies had a share of payments that was disproportionally higher than their
                    size. For each of these top 20 companies, their share of payments from chart reviews
                    and HRAs was more than 25 percent higher than their share of enrolled beneficiaries.
                    Of the remaining 142 companies, 8 had a share of payments that was between 2 and
                    17 percent higher than their share of enrolled beneficiaries. The other 134 companies
                    had a share of payments that was lower than their share of enrolled beneficiaries.

                    The top 20 companies                    Exhibit 2: Twenty MA companies drove over half
                    generated $5.0 billion from             of the risk-adjusted payments from diagnoses
                    chart reviews and HRAs that             submitted solely on chart reviews and HRAs, yet
                    were the sole source of                 they enrolled only 31 percent of MA beneficiaries.
                    diagnoses in the encounter
                    data. These 20 companies
                    generated 54 percent of the
                    $9.2 billion in payments from
                    diagnoses submitted solely on
                    chart reviews and HRAs, but
                    enrolled only 31 percent of MA
                    beneficiaries, as shown in
                    Exhibit 2. In contrast, the other
                    142 companies generated
                    46 percent of the payments, but
                    enrolled 69 percent of                   Source: OIG estimation of 2017 payment amounts using 2016 MA
                                                             encounter data from CMS’s IDR.
                    MA beneficiaries.


                    Half of the 20 companies drove payments mainly using the types
                    of chart reviews and HRAs that are more vulnerable to misuse
                    Unlinked chart reviews and in-home HRAs may be particularly vulnerable to misuse by
                    MA companies to maximize risk-adjusted payments inappropriately. Specifically:

                        •   Unlinked chart reviews do not identify the specific item or service associated
                            with the diagnoses and may often contain default procedure codes, which



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                             may provide opportunities for MA companies to circumvent CMS's
                             face-to-face visit requirement for risk adjustment.

                        •    In-home HRAs are often conducted by vendors that partner with or are hired
                             by MA companies to conduct these assessments (and therefore are not likely
                             conducted by the beneficiary's own primary care provider). This may create
                             gaps in care coordination for the beneficiary.

                    For half of the 20 MA companies that had a disproportionate share of payments from
                    diagnoses that were reported solely on chart reviews and HRAs, unlinked chart
                    reviews and/or in-home HRAs accounted for most of each company’s combined
                    payments. These 10 companies each had more than 80 percent of their payments
                    resulting from diagnoses that were reported only on unlinked chart reviews and/or
                    in-home HRAs. Seven of these 10 companies each generated more than 90 percent
                    of their payments from diagnoses that were reported only on unlinked chart reviews
                    and/or in-home HRAs.


                    Compared to their peers, the top 20 companies more often had
                    chart reviews and HRAs as the sole source of diagnoses for their
                    beneficiaries
                    Among the top 20 companies, a higher percentage of their enrolled beneficiaries had
                    risk-adjustment-eligible diagnoses that were reported only on a chart review and/or
                    HRA, in comparison to beneficiaries enrolled with the other 142 companies, as shown
                    in Exhibit 3. These companies reported diagnoses solely on these mechanisms for
                    more than half (56 percent) of their enrolled beneficiaries, in contrast to only
                    one-third (32 percent) of beneficiaries enrolled with the other 142 companies.

                    Exhibit 3: The top 20 MA companies relied more heavily than their peers on
                    diagnoses reported solely on chart reviews and HRAs.




                    Source: OIG analysis of 2016 MA encounter data from CMS’s IDR.

                    The top 20 companies had risk-adjusted payments for 38 percent of their
                    beneficiaries who had diagnoses that were reported only on chart reviews and/or
                    HRAs. The other 142 companies had risk-adjusted payments for 30 percent of their

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                    beneficiaries who had diagnoses that were reported only on chart reviews and/or
                    HRAs.


                    Just 12 health conditions accounted for two-thirds of the
                    $5 billion in risk-adjusted payments from chart reviews and HRAs
                    for the top 20 companies
                    The HCCs generated by diagnoses reported only on chart reviews and HRAs included
                    serious illnesses, such as diabetes and heart disease. However, there were no service
                    records directly demonstrating that beneficiaries who had a chart review and/or HRA
                    received treatment for these serious health diagnoses. For the 20 companies,
                    68 percent of their risk-adjusted payments ($3.4 billion of $5.0 billion) from diagnoses
                    reported only on chart reviews and HRAs were concentrated among 12 of the
                    101 possible HCCs, as shown in Exhibit 4. 38

                    Exhibit 4: For 20 MA companies, 12 health conditions drove billions in risk-adjusted
                    payments from chart reviews and HRAs.




                    Source: OIG estimation of 2017 payment amounts using 2016 MA encounter data from CMS’s IDR.



        One MA company stood out from its peers in its use of chart
        reviews and HRAs to drive risk-adjusted payments
                    Among the top 20 MA companies, 1 MA company generated 40 percent ($3.7 billion
                    of $9.2 billion) of all payments from diagnoses submitted solely on chart reviews and
                    HRAs, yet it enrolled only 22 percent of all MA beneficiaries, as shown in Exhibit 5.

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                    The remaining top 19 companies accounted for a much smaller—yet still
                    disproportionate—share of payments. 39 The other 142 companies that had payments
                    from chart reviews and/or HRAs enrolled 69 percent of all MA beneficiaries and
                    accounted for just 46 percent of these payments.

                    Exhibit 5: One top MA company generated billions in payments and a
                    disproportionately high share of payments from diagnoses submitted solely on
                    chart reviews and HRAs.




                    Source: OIG estimation of 2017 payment amounts using 2016 MA encounter data from CMS’s IDR.




                    The MA company with the largest share of payments particularly
                    stood out in its use of HRAs
                    This one top company stood out from its peers because of its disproportionally large
                    share of the payments generated by (1) HRAs, (2) in-home HRAs, and (3) certain
                    health conditions identified only during HRA visits. It also stood out for its more
                    intensive reporting of certain diagnoses on in-home HRAs.

                    Although this one MA company drove payments from both chart reviews and
                    HRAs, it had a disproportionately higher share of the payments from HRAs. This
                    company generated 58 percent ($1.5 billion of $2.6 billion) of all payments from
                    HRAs, as shown in Exhibit 6. The other top 19 companies accounted for only
                    4 percent of payments from HRAs. The remaining 142 companies generated
                    38 percent of the payments from HRAs.




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                    Exhibit 6: The one top MA company had a greater share of the payments from
                    diagnoses reported solely on HRAs, whereas the other companies had more of the
                    payments from diagnoses reported solely on chart reviews.




                    Source: OIG estimation of 2017 payment amounts using 2016 MA encounter data from CMS’s IDR.



                    This one company differed from its peers in the share of the HRA-driven payments
                    for certain health conditions. For six HCCs, this company had a substantially greater
                    share of the payments driven by diagnoses reported solely on HRAs, as shown in
                    Exhibit 7.

                    Exhibit 7: One top MA company had a substantially greater share of the payments
                    resulting from HRAs for certain health conditions, in comparison to its peers.




                    Source: OIG estimation of 2017 payment amounts using 2016 MA encounter data from CMS’s IDR.


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                    Overall, this 1 company had more than twice the amount of HRA-driven payments for
                    these 6 HCCs as did the other 161 companies combined ($704.8 million versus
                    $308.8 million). Although this 1 company enrolled 22 percent of MA beneficiaries, it
                    accounted for at least 60 percent of the beneficiaries identified as having each of
                    these health conditions during HRAs. This one company’s substantially higher share
                    of HRA-driven payments for these health conditions—and its correspondingly higher
                    share of beneficiaries identified with these conditions only during HRAs—raise
                    concerns about the validity of the diagnoses submitted only on HRAs and about the
                    lack of evidence of followup care for beneficiaries with these conditions.

                    This one MA company drove risk-adjusted payments from in-home HRAs. HRAs
                    can be an important tool for early identification of health risks to improve
                    beneficiaries’ care and health outcomes. However, conducting in-home HRAs that
                    drive risk-adjusted payment but do not result in needed followup care raises concerns
                    about the role that these assessments are playing in providing high-quality
                    coordinated care. The one top company accounted for two-thirds ($1.38 billion of
                    $2.05 billion) of all risk-adjusted payments resulting from diagnoses reported only on
                    in-home HRAs and on no other service records. In contrast, the other 19 companies
                    with a disproportionate share of payments from chart reviews and HRAs accounted
                    for just 1 percent of payments from in-home HRAs. The remaining 142 companies
                    accounted for 31 percent of payments from in-home HRAs.

                    Almost all of the company’s payments from HRAs resulted from diagnoses collected
                    in beneficiaries’ homes. Diagnoses reported only on in-home HRAs resulted in
                    93 percent ($1.38 billion of $1.5 billion) of the company’s payments from HRAs.
                    Eighteen other companies also generated more than 90 percent of their HRA
                    payments from in-home HRAs. However, these 18 other companies were much
                    smaller and their payments from in-home HRAs totaled just $41 million.

                    This one MA company used certain diagnosis codes more than its peers to
                    generate risk-adjusted payments from in-home HRAs. For this one company, the
                    top three diagnoses from in-home HRAs that generated risk-adjusted payments were
                    “peripheral vascular disease, unspecified,” “major depressive disorder, recurrent, mild,”
                    and “type 2 diabetes mellitus with diabetic peripheral angiopathy without gangrene.”
                    This company reported these 3 diagnoses only on in-home HRAs and on no other
                    service records for 125,632 beneficiaries. In contrast, all other 161 companies
                    combined reported these 3 diagnoses only on in-home HRAs for just
                    21,618 beneficiaries. The top 3 diagnoses that generated risk-adjusted payments
                    resulting solely from in-home HRAs for the other 161 companies were “morbid
                    (severe) obesity due to excess calories,” “atherosclerotic heart disease of native
                    coronary artery with unspecified angina pectoris,” and “heart failure, unspecified.”

                    In addition, the top MA company accounted for almost all of the beneficiaries with
                    certain diagnoses. For nine other diagnoses that generated payments from in-home
                    HRAs, this one company had at least 90 percent of the beneficiaries who had these
                    diagnoses reported only on an in-home HRA, as shown in Exhibit 8. For example, the


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                    company reported a diagnosis of “other forms of angina pectoris” for 99 percent
                    (6,719 of 6,795) of the beneficiaries with this diagnosis on an in-home HRA that
                    generated payment. All other 161 companies combined had payments generated by
                    this diagnosis from in-home HRAs for just 76 beneficiaries. It seems unusual that one
                    company accounted for such a substantially higher share of the beneficiaries with
                    these diagnoses.

                    Exhibit 8: The one top MA company had almost all of the beneficiaries with certain
                    diagnoses from in-home HRAs that generated payments.

                     Diagnosis      Description of Diagnosis Code                       Top Company’s Percentage of
                     Code                                                                    All Beneficiaries With the
                                                                                        Diagnosis on an In-Home HRA
                                                                                             That Generated Payment

                     I208           Other forms of angina pectoris                                               99%

                     F3342          Major depressive disorder, recurrent, in full                                99%
                                    remission

                     F3341          Major depressive disorder, recurrent, in                                     98%
                                    partial remission

                     E1139          Type 2 diabetes mellitus with other diabetic                                 97%
                                    ophthalmic complication

                     E1136          Type 2 diabetes mellitus with diabetic                                       96%
                                    cataract

                     G63            Polyneuropathy in diseases classified                                        96%
                                    elsewhere

                     E1169          Type 2 diabetes mellitus with other specified                                95%
                                    complication

                     F330           Major depressive disorder, recurrent, mild                                   90%

                     E46            Unspecified protein-calorie malnutrition                                     90%


                    Source: OIG analysis of 2016 MA encounter data from CMS’s IDR.




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CONCLUSION AND RECOMMENDATIONS

                   The risk-adjustment program is an important payment mechanism for MA. It levels
                   the playing field for MA companies that enroll beneficiaries who need a costlier level
                   of care, which helps to ensure these beneficiaries have continued access to MA plans.
                   Chart reviews can be a tool to improve the accuracy of risk-adjusted payments, and
                   HRAs can be used for early identification of health risks to improve beneficiaries’ care
                   and health outcomes. However, these mechanisms raise concerns if MA companies
                   use them to add diagnoses and maximize risk-adjusted payments without any other
                   encounter records indicating that they provided care for conditions reported by these
                   mechanisms.

                   Of the 162 MA companies with estimated risk-adjusted payments from diagnoses
                   reported only on chart reviews and/or HRAs, 20 companies had a disproportionate
                   share of the $9.2 billion in risk-adjusted payments from both mechanisms. This
                   disproportion could not be explained by their enrollment size. Overall, these
                   20 companies generated $5 billion in payments for beneficiaries who may not have
                   received any other services for the medical conditions indicated by the diagnoses. For
                   half of these 20 companies, unlinked chart reviews and in-home HRAs—which may be
                   particularly vulnerable to misuse by MA companies—accounted for most of their
                   estimated payments generated by chart reviews and HRAs. Among these top 20 MA
                   companies, 1 large company further stood out for its large share of risk-adjusted
                   payments from chart reviews and HRAs. This company enrolled 22 percent of MA
                   beneficiaries, yet it generated 40 percent of all risk-adjusted payments from these
                   mechanisms. In addition, it accounted for half of all payments from HRAs. Finally,
                   almost all its payments from HRAs resulted from diagnoses reported only on in-home
                   HRAs.

                   These findings, along with prior OIG work, raise concerns that certain MA companies
                   may be using both chart reviews and HRAs more than their peers to maximize
                   risk-adjusted payments inappropriately. These findings also reinforce the three types
                   of potential concerns identified during prior work on chart reviews and HRAs:
                   (1) a data integrity concern that MA companies are not submitting all service records
                   as required; (2) a quality-of-care concern that beneficiaries are not receiving needed
                   services to address diagnoses identified on these mechanisms; and (3) a payment
                   integrity concern that if diagnoses are inaccurate or unsupported, the associated
                   risk-adjusted payments would then be inappropriate.

                   MA companies should receive appropriate compensation for providing care to
                   beneficiaries with serious and chronic health conditions. However, mechanisms such
                   as chart reviews and HRAs should not be misused to collect diagnoses that
                   inappropriately increase payments to MA companies and do not result in improved
                   care for MA beneficiaries.


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        We recommend that CMS:

        Provide oversight of the 20 MA companies that had a
        disproportionate share of the risk-adjusted payments from chart
        reviews and HRAs
                   CMS should perform oversight of the 20 MA companies that each had a share of
                   payments from chart reviews and HRAs that was more than 25 percent higher than its
                   share of enrolled MA beneficiaries. When OIG issues this report, we will provide CMS
                   with a list of the 20 MA companies, including the estimated risk-adjusted payments
                   from chart reviews and HRAs. CMS should assess the following:

                       •   whether there are quality-of-care issues regarding the beneficiaries for whom
                           there were diagnoses reported only on chart reviews or HRAs (i.e., whether the
                           lack of additional MA service records for some of the serious conditions being
                           represented by these diagnoses raises concerns about the adequacy of care
                           provided to these beneficiaries);

                       •   whether MA companies are submitting records of all services for beneficiaries
                           with diagnoses reported only on chart reviews or HRAs; and

                       •   whether the diagnoses reported solely on chart reviews or HRAs submitted by
                           these 20 MA companies are accurate.

                   CMS may need to work across different Centers (e.g., the Center for Clinical Standards
                   and Quality and the Center for Program Integrity) to conduct these assessments.


        Take additional actions to determine the appropriateness of
        payments and care for the one MA company that substantially
        drove risk-adjusted payments from chart reviews and HRAs
                   CMS should perform additional oversight of the MA company that had a high and
                   disproportionate share of the payments from both chart reviews and HRAs for
                   beneficiaries who may not have received any other services for the diagnoses
                   reported only on these mechanisms. OIG identified six health conditions that
                   accounted for a substantial portion of the company’s payments from HRAs. We also
                   identified nine diagnoses from in-home HRAs that generated payments and were
                   reported for many more of the company’s beneficiaries than for those of its peers.
                   CMS should work across its different Centers to examine the appropriateness of
                   payments and care specifically for these conditions and diagnoses. In addition, CMS
                   should assess the company’s requirements for care coordination after in-home HRAs
                   and determine whether the company effectively implements these requirements.




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                   CMS should take action(s) to remedy any problems identified and improve the
                   integrity of this company’s chart review and/or HRA programs. Specifically, if the
                   company does not ensure that beneficiaries receive appropriate care for diagnoses
                   reported on these mechanisms, CMS should require the company to implement
                   practices that ensure care coordination for beneficiaries. In addition, if the company
                   submitted a chart review or HRA to CMS with unsupported diagnoses, CMS should
                   recover risk-adjusted overpayments as appropriate.


        Perform periodic monitoring to identify MA companies that had
        a disproportionate share of risk-adjusted payments from chart
        reviews and HRAs
                   CMS should conduct periodic reviews to identify MA companies that generate shares
                   of payments from chart reviews and HRAs that are disproportionately higher than
                   their respective shares of enrolled MA beneficiaries. These periodic reviews should
                   determine whether the 20 MA companies, or other MA companies, generate a
                   disproportionately higher share of the payments from these mechanisms in a given
                   payment year. CMS should use this information to provide targeted oversight of
                   companies that consistently generate a share of payments that cannot be explained
                   by their enrollment size. These reviews should include (1) assessing whether these
                   companies are providing quality care for their beneficiaries, and/or (2) determining
                   the accuracy of diagnoses reported only on chart reviews or HRAs submitted by these
                   companies.




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AGENCY COMMENTS AND OIG RESPONSE

                   In response to our draft report, CMS stated that it is committed to ensuring that
                   diagnoses that MA companies submit for risk adjustment are accurate. However,
                   CMS neither concurred nor nonconcurred with our three recommendations. Instead,
                   CMS stated that it will take our recommendations under consideration as part of its
                   ongoing process to determine policy options for future years. CMS acknowledged
                   concerns that in-home HRAs could be used by some MA companies primarily for the
                   gathering of diagnoses for payment rather than to provide treatment and/or followup
                   care to beneficiaries. CMS noted that it has issued guidance in recent years to ensure
                   MA companies are using HRAs and chart reviews appropriately. CMS stated that it
                   also uses Risk Adjustment Data Validation (RADV) audits to verify the accuracy of
                   diagnoses reported by MA companies for risk adjustment and to recoup
                   overpayments.

                   OIG recognizes the actions that CMS has taken to provide oversight of MA
                   companies’ use of HRAs and chart reviews. However, some companies’
                   disproportionate use of these mechanisms to maximize risk-adjusted payments raises
                   concerns and highlights the need for more targeted oversight. We continue to
                   recommend that CMS:

                    •   provide oversight of the 20 MA companies that had a disproportionate share of
                        the risk-adjusted payments from chart reviews and HRAs;

                    •   take additional actions to determine the appropriateness of payments and care
                        for the one MA company that substantially drove risk-adjusted payments from
                        chart reviews and HRAs; and

                    •   perform periodic monitoring to identify MA companies that had a
                        disproportionate share of risk-adjusted payments from chart reviews and HRAs.

                   OIG requests that CMS include in its Final Management Decision details on any plans
                   or progress it has made toward implementing our recommendations.

                   The full text of CMS’s comments can be found in Appendix A.




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DATE:           August 20, 2021

TO:             Christi Grimm
                Principal Deputy Inspector General
                Office of Inspector General

FROM:           Chiquita Brooks-LaSure
                Administrator
                Centers for Medicare & Medicaid Services

SUBJECT:        Office of Inspector General (OIG) Draft Report: Some Medicare Advantage
                Companies Leveraged Chart Reviews and Health Risk Assessments to
                Disproportionately Drive Payments (OEI-03-17-00474)

The Centers for Medicare & Medicaid Services (CMS) appreciates the opportunity to review and
comment on the OIG’s draft report regarding the role of chart reviews and Health Risk
Assessments (HRAs) in identifying diagnoses that Medicare Advantage Organizations (MAOs)
submit to CMS for risk adjusted payments.

CMS pays each MAO a monthly per-person amount for each beneficiary enrolled in its plan. The
per-person amount is adjusted for the risk of the beneficiary, which takes into account
differences in health status between enrolled beneficiaries. Plans that disproportionately enroll
healthy beneficiaries are paid less than they would be if they enrolled beneficiaries with the
average risk profile, while plans that disproportionately enrolled the sickest patients are paid
more than if they enrolled beneficiaries with the average risk profile.

Beneficiary risk scores are calculated with diagnoses that MAOs report to CMS. Diagnosis codes
used for risk adjustment must meet specific criteria, including that the diagnosis is documented
in the medical record. Historically, MAOs have reported diagnosis codes to CMS in two ways:
(1) to a legacy system called the Risk Adjustment Payment System (RAPS) using an abbreviated
data set, including diagnosis codes; and (2) to the Encounter Data System, where MAOs submit
a larger set of information on each service provided, including diagnosis codes. CMS allows
MAOs to use HRAs and chart reviews, both described in more detail below, as a source of
diagnoses for Medicare Advantage (MA) beneficiaries used in the calculation of risk-adjusted
payments. It is also important to note that risk adjustment requirements do not require that a
service be provided for every diagnosis. For example, MAOs may report diagnoses for which
there might not be a service directly linked to a condition status, but could be for associated
comorbidities (e.g., morbid obesity).

HRAs are a tool for early identification of health risks to improve beneficiaries’ health outcomes
through care coordination. Physicians or other health care professionals conduct HRAs to collect
information from beneficiaries about their health status, health risks, and daily activities. In the
MA program, HRAs are either a part of annual wellness visits or conducted during other visits in


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non-clinical settings. MAOs may submit diagnoses documented in HRAs for risk adjustment. All
diagnoses submitted for risk adjustment are subject to Risk Adjustment Data Validation (RADV)
audits to ensure they meet program rules. MAOs review conditions listed on HRAs to evaluate
for chronicity and support in the full medical record, such as history, medications, and final
assessment. Results of HRA screening portions are not considered confirmed diagnoses by
MAOs unless supported by the final assessment documentation. 1 In addition, CMS has created
an indicator in RAPS data that requires MAOs to identify diagnoses that result from a non-
clinical setting visit during which an annual wellness visit was completed.

CMS has issued guidance in recent years to ensure MAOs are utilizing HRAs appropriately. In
2015, CMS provided guidance to MAOs on best practices that promote the primary use of in-
home HRAs as tools for improving care for MA enrollees. 2 These practices included making
referrals to appropriate community resources, verifying that needed follow-up care is provided,
and verifying that information obtained during the assessment was provided to the appropriate
providers. CMS released additional guidance in 2016 related to coordination of care for services
provided to MA beneficiaries. 3 This guidance states that MAOs must ensure continuity of
services, including implementing procedures to make a best effort to conduct HRAs annually and
to ensure an appropriate and timely exchange of clinical information among providers. This will
help ensure that diagnoses collected from HRAs are substantiated through appropriate follow up
care.

Chart review records are a type of Medicare Advantage encounter data. They allow MAOs to
submit diagnosis codes for risk adjustment that were not reported on the record that was
submitted to report the encounter. That typically occurs because the data used to report the
encounter was taken from a claim that a provider submitted to the MAO. Such a claim would not
necessarily include all the diagnoses documented in the medical record during the respective
encounter. While MAOs are required to submit all encounters to CMS, chart review records are
intended for the submission of additional diagnosis codes submitted for risk adjustment. Based
on their reviews of medical records, MAOs may also use chart review records to delete
previously submitted diagnosis codes that are not supported by those medical records.

CMS has also issued guidance in recent years to ensure MAOs are utilizing chart reviews
appropriately. In January 2020, CMS released a Frequently Asked Questions document to MAOs
that included information on adding or deleting diagnoses codes through chart reviews, the use
of default procedure codes for unlinked chart reviews, and how MAOs can avoid duplicate errors
when submitting diagnoses. 4

1
 Contract-level Risk Adjustment Data Validation: Medical Record Reviewer Guidance
https://www.cms.gov/Research-Statistics-Data-and-Systems/Monitoring-Programs/Medicare-Risk-Adjustment-
Data-Validation-Program/Other-Content-Types/RADV-Docs/Medical-Record-Reviewer-Guidance.pdf
2
 Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation Rates and Medicare Advantage and
Part D Payment Policies and Final Call Letter
https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/Downloads/Announcement2016.pdf
3
 Medicare Managed Care Manual
https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/mc86c04.pdf
4
  FAQs about MAOs Encounter Data Submission and Processing
https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/2012232368-lw-
faqsmaosencounterdatasubmissionandprocessing.pdf

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CMS is committed to ensuring that diagnoses that MAOs submit for risk adjustment are
accurate, and we have already taken action to target plans at higher risk for improper payment.
For example, CMS uses contract-level RADV audits to validate that diagnoses used for risk
adjustment meet program rules. RADV audits measure the accuracy of the plan-submitted
diagnostic information through medical record and coding reviews, and uses the results of these
audits to identify and recover overpayments for individual MA plans. CMS audits approximately
200 plans per payment year, using advanced statistical modeling and known areas of improper
payment to focus audits on higher risk areas when drawing enrollee samples. To assess potential
risk of overpayments, CMS takes into consideration various factors, including results of past
RADV audits. Because the plan selection methodology for RADV audits already focuses on
high-risk plans, our current methodology would already capture plans at high risk for improper
payment.

OIG Recommendation
Provide oversight of the 20 MA companies that had a disproportionate share of the risk-adjusted
payments from chart reviews and HRAs.

CMS Response
While CMS continues to support the use of enrollee risk assessments for wellness, care
coordination, and disease prevention, we recognize that concerns remain that home visits could
be used by some MA organizations primarily for the gathering of diagnoses for payment rather
than to provide treatment and/or follow-up care to beneficiaries. CMS is consistently monitoring
the operations of the program to determine appropriate policy options for consideration in future
years, but presently, HRAs and chart reviews are allowable sources of diagnoses for risk adjusted
payments in the MA program. RADV audits are CMS’s primary corrective action to recoup
overpayments. RADV uses medical record review to verify the accuracy of enrollee diagnoses
submitted by MA organizations for risk adjusted payment. CMS’ RADV audits are designed to
develop audit and sampling methodologies that target a combination of plans, enrollees, and
diagnoses that are most at risk for improper payments. Because of this, MA companies that are at
higher risk for overpayments already have an increased likelihood of being included in RADV
audits. However, CMS will take OIG’s recommendation under consideration as part of our
ongoing process to determine policy options for future years.

OIG Recommendation
Take additional actions to determine the appropriateness of payments and care for the one MA
company that substantially drove risk-adjusted payments from chart reviews and HRAs.

CMS Response
While CMS continues to support the use of enrollee risk assessments for wellness, care
coordination, and disease prevention, we recognize that concerns remain that home visits could
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the operations of the program to determine appropriate policy options for consideration in future
years, but presently, HRAs and chart reviews are allowable sources of diagnoses for risk adjusted
payments in the MA program. CMS’ RADV audits are designed to develop audit and sampling
methodologies that target a combination of plans, enrollees, and diagnoses that are most at risk


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for improper payments. Because of this, MA companies that are at higher risk for overpayments
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take OIG’s recommendation under consideration as part of our ongoing process to determine
policy options for future years.

OIG Recommendation
Perform periodic monitoring to identify MA companies that had a disproportionate share of risk-
adjusted payments from chart reviews and HRAs.

CMS Response
While CMS continues to support the use of enrollee risk assessments for wellness, care
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                   This report was prepared under the direction of Linda Ragone, Regional Inspector
                   General for Evaluation and Inspections in the Philadelphia regional office, and
                   Joanna Bisgaier, Deputy Regional Inspector General.


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                   Affairs at Public.Affairs@oig.hhs.gov. OIG reports and other information can be found
                   on the OIG website at oig.hhs.gov.

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                   Washington, DC 20201




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ABOUT THE OFFICE OF INSPECTOR GENERAL

                    The mission of the Office of Inspector General (OIG), as mandated by Public Law 95-
                    452, as amended, is to protect the integrity of the Department of Health and Human
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                    done by others. Audits examine the performance of HHS programs and/or its
                    grantees and contractors in carrying out their respective responsibilities and are
                    intended to provide independent assessments of HHS programs and operations.
                    These audits help reduce waste, abuse, and mismanagement and promote economy
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                    The Office of Investigations (OI) conducts criminal, civil, and administrative
                    investigations of fraud and misconduct related to HHS programs, operations, and
                    beneficiaries. With investigators working in all 50 States and the District of Columbia,
                    OI utilizes its resources by actively coordinating with the Department of Justice and
                    other Federal, State, and local law enforcement authorities. The investigative efforts
                    of OI often lead to criminal convictions, administrative sanctions, and/or civil
                    monetary penalties.

                    The Office of Counsel to the Inspector General (OCIG) provides
                    general legal services to OIG, rendering advice and opinions on HHS programs and
                    operations and providing all legal support for OIG’s internal operations. OCIG
                    represents OIG in all civil and administrative fraud and abuse cases involving HHS
                    programs, including False Claims Act, program exclusion, and civil monetary penalty
                    cases. In connection with these cases, OCIG also negotiates and monitors corporate
                    integrity agreements. OCIG renders advisory opinions, issues compliance program
                    guidance, publishes fraud alerts, and provides other guidance to the health care
                    industry concerning the anti-kickback statute and other OIG enforcement authorities.




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ENDNOTES
1 MAOs may also offer prescription drug coverage under Medicare Part D.


2 An MA company can also be referred to as a parent organization or parent company.       We use the term “MA companies” to
encompass MAOs.
3 OIG, Billions in Estimated Medicare Advantage Payments From Chart Reviews Raise Concerns, OEI-03-17-00470,

December 2019; OIG, Billions in Estimated Medicare Advantage Payments From Diagnoses Reported Only on Health Risk
Assessments Raise Concerns, OEI-03-17-00471, September 2020.
4 CMS, CMS Financial Report Fiscal Year 2020, November 2020, p. 53.    Accessed at https://www.cms.gov/files/document/cms-
financial-report-fiscal-year-2020.pdf on January 5, 2021.
5 Although MAOs may receive service information from providers, submit diagnoses for risk adjustment, and receive payments

from CMS, this report uses the term “MA companies” (i.e., companies that own or have a controlling interest in one or more
MAOs) to encompass MAOs.
6 CMS, Encounter Data Submission and Processing Guide, Medicare Advantage Program, October 2020.  Accessed at
https://www.csscoperations.com/internet/csscw3_files.nsf/F/CSSCED_Submission_Processing_Guide_20201009.pdf/$FILE/ED_Su
bmission_Processing_Guide_20201009.pdf on June 17, 2021. CMS, Medicare Managed Care Manual, Risk Adjustment, Pub. No.
100-16 (Rev. 118, September 19, 2014), ch. 7. Accessed at https://www.cms.gov/Regulations-and-Guidance/Guidance/
Manuals/Downloads/mc86c07.pdf on May 4, 2021. CMS, Final Encounter Data Diagnosis Filtering Logic, December 2015.
Accessed at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/final%20industry
%20memo%20medicare%20filtering%20logic%2012%2022%2015_2.pdf on December 27, 2018.
7 The RAPS data include only select information for services provided by a limited set of provider types.
                                                                                                  CMS began collecting
the more comprehensive encounter data from MA companies in 2012 as part of an effort to improve MA payment accuracy
and better perform MA quality reviews.
8 To be eligible for risk adjustment, a diagnosis must be (1) documented in a medical record from a hospital inpatient stay,

hospital outpatient visit, or visit with a physician or other eligible health care professional during the prior year,
(2) documented as a result of a face-to-face visit between the beneficiary and the provider, and (3) submitted on an encounter
record by the final risk adjustment data submission deadline. To identify which diagnoses meet these eligibility criteria, CMS
extracts—or filters—diagnoses in the encounter data on the basis of whether the service record contains an acceptable
procedure code (i.e., Current Procedural Terminology (CPT) or Healthcare Common Procedure Coding System (HCPCS) code)
and/or type of bill code.
9 Specifically, the relative factors represent the marginal expected cost of an HCC relative to the average expected cost in the

Medicare fee-for-service program.
10 CMS adjusts risk scores by normalization factors and coding adjustment factors prior to calculating payments.  An MA plan’s
base payment rate is the plan’s standardized bid adjusted by the county Intra-Service Area Rate factor for the beneficiary’s
county of residence.
11 MA companies may also perform chart reviews to delete diagnoses that providers submitted in error, but prior OIG work

found that the use of chart reviews for this purpose was rare. OIG, Billions in Estimated Medicare Advantage Payments From
Chart Reviews Raise Concerns, OEI-03-17-00470, December 2019.
12 On a linked chart review, MA companies identify the previously accepted service record by reporting that service record’s

unique internal control number.




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13 CMS permits MA companies to submit unlinked chart reviews because of CMS’s concerns regarding the burden on some MA

companies of linking chart reviews.
14 In August 2018, CMS issued a clarification to MA companies that “diagnoses that are disallowed for risk adjustment should

not be submitted with default [procedure] codes that would cause the diagnoses to be allowed for risk-adjusted payment.”
CMS, Additional Guidance for Chart Review Record (CRR) Submissions, August 2018. Accessed at https://www.hhs.gov/guidance
/sites/default/files/hhs-guidance-documents/hpms%2520memo%2520chart_review_final_08-28-2018_4.pdf on February 19,
2021.
15 To be eligible for risk adjustment, a diagnosis must be documented as a result of a face-to-face visit between the beneficiary

and the provider. To identify which diagnoses meet eligibility criteria, CMS extracts—or filters—diagnoses in the encounter
data on the basis of whether the service record contains an acceptable procedure code (i.e., Current Procedural Terminology
(CPT) or Healthcare Common Procedure Coding System (HCPCS) code) and/or type of bill code.
16 OIG, Billions in Estimated Medicare Advantage Payments From Chart Reviews Raise Concerns, OEI-03-17-00470,

December 2019.
17 CMS, Medicare Advantage Encounter Data—Data Exchange Reports—June 2020, June 2020. Accessed at
https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/ma%20encounter%20data_data%20exchange
_6.25.2020_8.pdf on February 22, 2021.
18 DOJ, U.S. Intervenes in Second “Whistleblower” Lawsuit Alleging UnitedHealth Mischarged the Medicare Advantage and

Prescription Drug Programs, May 2017. Accessed at https://www.justice.gov/usao-cdca/pr/us-intervenes-second-
whistleblower-lawsuit-alleging-unitedhealth-mischarged-medicare on April 14, 2021; United States ex rel. Poehling v.
UnitedHealth Group, Inc. et al., No. CV 16-8697-MWF (SSX), (C.D. Cal. filed May 16, 2017).
19 DOJ, Manhattan U.S. Attorney Files Civil Fraud Suit Against Anthem, Inc., For Falsely Certifying The Accuracy Of Its Diagnosis

Data, March 2020. Accessed at https://www.justice.gov/usao-sdny/pr/manhattan-us-attorney-files-civil-fraud-suit-against-
anthem-inc-falsely-certifying on October 16, 2020. United States v. Anthem, Inc., No. 20-cv-2593 (U.S. District Court for the
Southern District of New York, filed March 26, 2020).
20 GAO, Fundamental Improvements Needed in CMS’s Effort to Recover Substantial Amounts of Improper Payments, GAO-16-76,

April 2016, p.13. Accessed at https://www.gao.gov/assets/680/676441.pdf on August 12, 2020.

21 An annual wellness visit should incorporate reviews of a beneficiary’s health risks, medical history, and current providers,

along with routine measurements and personalized health advice. CMS, Medicare Wellness Visits, October 2020. Accessed at
https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-MLN/MLNProducts/preventive-services/medicare-
wellness-visits.html on April 15, 2021.
22 MA companies must make a “best-effort” attempt to conduct an initial and annual HRA to assess each enrollee’s health care

needs. 42 CFR § 422.112(b)(4)(i); CMS, Medicare Managed Care Manual, Benefits and Beneficiary Protections, Pub. No. 100-16
(Rev. 121, April 22, 2016), ch. 4, § 110. Accessed at https://www.cms.gov/Regulations-and-Guidance/Guidance/
Manuals/Downloads/mc86c04.pdf on June 16, 2021. MA companies offering Special Needs Plans (SNPs) must conduct initial
and annual HRAs of individuals’ physical, psychosocial, and functional needs, using a comprehensive risk assessment tool that
CMS may review during oversight activities. Social Security Act, § 1859(f)(5)(A)(ii)(I); 42 CFR § 422.101(f)(1)(i).
23 OIG, Billions in Estimated Medicare Advantage Payments From Diagnoses Reported Only on Health Risk Assessments Raise

Concerns, OEI-03-17-00471, September 2020.
24 We identified diagnoses reported on HRAs using a twofold process.   First, we aggregated records from CMS’s Integrated
Data Repository (IDR) that identify potential HRAs, including annual wellness visits; initial preventive physical exams; and




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evaluation and management home visits. Second, among these types of records, we excluded from our analysis any
beneficiaries who had more than one procedure code in 2016 that met our criteria for a potential HRA.
25 CMS, Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation Rates and Medicare Advantage and Part D

Payment Policies and Final Call Letter, April 2015. Accessed at https://www.cms.gov/Medicare/Health-
Plans/MedicareAdvtgSpecRateStats/Downloads/Announcement2016.pdf on August 12, 2020.
26 CMS, Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation Rates and Medicare Advantage and Part D

Payment Policies and Final Call Letter, April 2015. Accessed at https://www.cms.gov/Medicare/Health-
Plans/MedicareAdvtgSpecRateStats/Downloads/Announcement2016.pdf on August 12, 2020.
27 As part of this recommendation, MedPAC recommended that the Secretary develop a risk adjustment model that uses

2 years of Medicare fee-for-service and MA diagnostic data. MedPAC, Report to the Congress: Medicare Payment Policy, March
2016, p. 352. Accessed at http://www.medpac.gov/docs/default-source/reports/march-2016-report-to-the-congress-
medicare-payment-policy.pdf on August 12, 2020.
28 For encounter records with dates of service in 2016, we identified chart reviews as records with (1) a claim type code

between 4000 and 4800; (2) a chart review switch value of “Y”; and (3) a chart review effective switch of “Y.”
29 We identified HRAs in the 2016 MA encounter data using a twofold process.     First, we aggregated records from the
Integrated Data Repository (IDR) containing a procedure code that identifies a potential HRA, including a procedure code for
an annual wellness visit (G0438 or G0439), an initial preventive physical exam (G0402), or an evaluation and management
home visit (99341–99345 or 99347–99350). For evaluation and management home visits, we also ensured that the place of
service was at home—i.e., that the code for the place of service was home (12), temporary lodging (16), custodial care facility
(33), group home (14), or homeless shelter (04). Second, among these types of records, we excluded from our analysis any
beneficiaries who had more than one procedure code in 2016 that met our criteria for a potential HRA.
30 We excluded beneficiaries who—according to information contained in the IDR’s MA prescription drug (MARx) data—had

end stage renal disease, were receiving hospice care, or did not reside in a U.S. State. To ensure data accuracy, we also
excluded beneficiaries with inconsistencies between their MA encounter data, Medicare beneficiary data, and MARx data
contained in the Integrated Data Repository. In addition, we included only beneficiaries who were enrolled with the same MA
plan for all 12 months of 2016.

31 We used the 2017 CMS-HCC model and CMS’s CMS-HCC mapping software to identify the HCCs generated by the

diagnoses that were reported only on chart reviews or HRAs. CMS, Announcement of Calendar Year (CY) 2017 Medicare
Advantage Capitation Rates and Medicare Advantage and Part D Payment Policies and Final Call Letter, Table VI-1. 2017
CMS-HCC Model Relative Factors for Community and Institutional Beneficiaries, April 2016, pp. 78-84. Accessed at
https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/Downloads/Announcement2017.pdf on
December 19, 2018. CMS, 2017 Model Software/ICD-10 Mappings, V2217.79.O1. Accessed at
https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/Risk-Adjustors.html on May 9, 2018.
32 Prior to calculating payment estimates, we adjusted each HCC’s relative factor by CMS’s normalization factors and coding

adjustment factors for 2017.
33 For MA plans that submit bids to CMS, we identified base payment rates for December 2017 in the Approved Bid Pricing

Tool Extract from CMS’s Health Plan Management System. For Employer Group Waiver Plans (EGWPs), which do not submit
bids to CMS, we identified base payment rates using CMS’s EGWP county-level ratebooks for regional and local EGWPs and
information on each EGWP’s star rating. We identified EGWPs’ 2017 star ratings by using the Approved Bid Pricing Tool Extract
and the MA Quality Bonus Payment Rating files from CMS’s Health Plan Management System. The 2017 MA plan information
that we used in our analysis included information from the Approved Bid Pricing Tool Extract and the Plan Benefit Package
Extract in CMS’s Health Plan Management System, as well as CMS’s EGWP county-level ratebooks. CMS, 2017 Medicare




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Advantage Ratebook and Prescription Drug Rate Information, 2017. Accessed at https://www.cms.gov/Medicare/Health-
Plans/MedicareAdvtgSpecRateStats/Ratebooks-and-Supporting-Data.html on January 5, 2018.
34 We identified linked chart reviews as chart reviews that contained an original control number and had a four-part effective

key that matched the four-part effective key of an accepted service record with a date of service in 2016. We considered all
other chart reviews to be unlinked.
35 We identified in-home HRAs as records containing a place of service code of “home” (12), “temporary lodging” (16),

“custodial care facility” (33), “group home” (14), or “homeless shelter” (04). We considered records containing all other place of
service codes—including codes for physician offices, clinics, and hospitals—to be facility-based HRAs.
36 These evaluations included only beneficiaries enrolled in the same MA plan for all 12 months of 2016.   We excluded
beneficiaries who had end-stage renal disease, were receiving hospice care, or did not reside in a U.S. State. We also excluded
cost plans, demonstration plans, programs of all-inclusive care for the elderly (PACE) organizations, and Medicare medical
savings account plans.
37 For 2017, CMS calculated a blended risk score for each beneficiary by combining 25 percent of the risk score calculated from

diagnoses in the encounter data and 75 percent of the risk score calculated from diagnoses in the RAPS data. Ultimately, CMS
plans to rely exclusively on encounter data to calculate risk scores.
38 Prior OIG reports provide the amount of risk-adjusted payments for all 101 HCCs that resulted from diagnoses reported only

on each of these mechanisms. OIG, Billions in Estimated Medicare Advantage Payments From Chart Reviews Raise Concerns,
OEI-03-17-00470, December 2019, Appendix B, pp. 29–33; OIG, Billions in Estimated Medicare Advantage Payments From
Diagnoses Reported Only on Health Risk Assessments Raise Concerns, OEI-03-17-00471, September 2020, Appendix B,
pp. 33-36.
39 Only 4 of these 19 companies had a more disproportionate share of payments than the large company.        However, those
4 companies were small, each enrolling less than 1 percent of all MA beneficiaries.




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